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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 11-62661-CIV-COHN/SELTZER

 LILA LEVY,

        Plaintiff,

 v.

 HOME DEPOT U.S.A., INC.,

      Defendant.
 _________________________/

                     FINAL ORDER OF DISMISSAL WITH PREJUDICE

        THIS CAUSE is before the Court on the parties’ Stipulation of Dismissal with

 Prejudice [DE 24]. The Court being informed that the parties have settled this action,

 it is ORDERED AND ADJUDGED that the parties’ Stipulation of Dismissal with

 Prejudice [DE 24] is hereby GRANTED. The above-styled action is hereby DISMISSED

 WITH PREJUDICE, with each party to bear its own costs. In accordance with the

 parties’ stipulation, all liens or claims against the proceeds of the settlement and all

 subrogated interests shall be paid by Plaintiff out of the settlement proceeds, and

 Defendant is hereby discharged from any further responsibility with respect to such

 liens, claims, and subrogated interests. The Clerk may close this case and deny any

 pending motions as moot.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

 Florida, this 24th day of May, 2012.



 Copies to:

 Counsel of record via CM/ECF
